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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JOHN DOE,

                                             Case No. 1:18-cv-01413-JTN-ESC

                 Plaintiff,                  Hon. Janet T. Neff

     v.
MICHIGAN STATE UNIVERSITY, et al.,

                 Defendants.



   DEFENDANTS KROLL ASSOCIATES, INC., MARK EHLERS, AND KENDRA
      WALDSMITH’S SECOND PRE-MOTION CONFERENCE REQUEST
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       Kroll Associates, Mark Ehlers, and Kendra Waldsmith (collectively, the “Kroll Parties”)

are private actors previously hired by Michigan State to investigate Doe’s alleged sexual assault

of Roe. Doe’s original complaint alleged that the Kroll Parties violated his constitutional rights

while investigating Roe’s claims against Doe. As explained below, Michigan State’s retention of

the Kroll Parties did not, as a matter of law, convert them into state actors. They are therefore not

liable for any constitutional violations claimed by Doe.

       Two months ago, when this was a just a single plaintiff case, the Court denied as premature

the Kroll Parties’ request to file a motion to dismiss. ECF No. 32. After the Kroll Parties answered,

however, Doe dramatically altered the status quo by amending his complaint to allege a class action

on behalf of himself and every Michigan State student who has violated, or will violate, the

school’s sexual assault policy. ECF No. 41. Doe’s attempt to transform the fact-specific

allegations of the original Complaint into a class action case is inconsistent with Sixth Circuit

precedent, including a case cited by Doe in the Amended Complaint itself stating that, in cases

involving higher education disciplinary decisions, “[t]he amount of process due will vary

according to the facts of each case.” Flaim v. Med. Coll. of Ohio, 418 F.3d 629, 634 (6th Cir.

2005). Further, there is no allegation that the Kroll Parties investigated any other students’ sexual

assault claims or, if they did, how many students’ sexual assault allegations they investigated.

       The Kroll Parties therefore respectfully request a pre-motion conference to enable them to

move to dismiss the allegations against them under Rule 12(b)(6) and/or strike the new class

allegations. This request is no longer premature given that Doe is attempting to thrust the Kroll

Parties into a sprawling putative (and improper) class action that may have little to do with them.




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I.       The Constitutional claims against the Kroll Parties are barred by NCAA v. Tarkanian,
         488 U.S. 179 (1988).

                The Kroll Parties investigated Doe’s alleged sexual assault of Roe, and issued a report

  summarizing the evidence and expressing their opinion as to whether the preponderance of the

  evidence supported Roe’s allegations. The University, not the Kroll Parties, thereafter punished

  Doe. Indeed, the Kroll Parties did not have the authority to punish Doe. The Amended Complaint

  does not allege that the Kroll Parties investigated any other putative class members’ alleged school

     policy violations or attempt to estimate how many investigations were performed by the Kroll

     Parties.

                The law shields private actors like the Kroll Parties from Constitutional claims. The

     Supreme Court has held that a private party who investigates a claim for a public entity, and even

     recommends discipline, is not transformed into a state actor. NCAA v. Tarkanian, 488 U.S. 179

     (1988).

                In Tarkanian, the NCAA, a private association, investigated the recruiting practices of

     Tarkanian, the basketball coach at the University of Nevada Las Vegas (“UNLV”), a public

     university. 488 U.S. at 185–86. Based on the NCAA’s recommendation that Tarkanian be

     disciplined for violations of the NCAA’s recruiting rules, UNLV suspended Tarkanian. Id. at 186–

     87. Tarkanian sued UNLV and the NCAA. Id. The Supreme Court noted that the case presented

     a unique question, given that the private entity, the NCAA, did not “take[ ] the decisive step that

     caused the harm to the plaintiff.” Id. at 192. Therefore, the question was not “whether UNLV

     participated to a critical extent in the NCAA’s activities, but whether UNLV’s actions in

     compliance with the NCAA rules and recommendations turned the NCAA’s conduct into state

     action.” Id. at 193. The Court held that they did not. Id. at 199. The Court relied on the fact that

     the NCAA could not “directly discipline Tarkanian or any other state university employee.” Id.

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Rather, the decision to adopt the recommendation of the NCAA was the university’s. Id. at 197.

Tarkanian remains the law today. See, e.g., Caleb v. Grier, 598 F. App’x 227 (5th Cir. 2015)

(private attorneys hired as investigators by a public school district had not engaged in state action

when they investigated a district employee and recommended at the close of the investigation that

the employee be terminated).

         Plaintiff cannot maintain these Constitutional claims against the Kroll Parties under

Tarkanian. The critical fact is that the Kroll Parties only investigated the allegations, and opined

that Plaintiff violated school policy. Michigan State—not the Kroll Parties—then suspended

Plaintiff.

         The Kroll Parties accordingly request that the Court permit them to brief this issue in a

motion to dismiss. The Kroll Parties also join, and incorporate by reference, Michigan State’s

contention that the class allegations should be stricken at the pleading stage.

II.      The Kroll Parties are, alternatively, immune from liability.

         In the event the Kroll Parties were state actors (they were not), the Kroll Parties are immune

from liability, for all the reasons discussed in Michigan State’s pre-motion conference request.

The Kroll Parties adopt and incorporate those arguments.

Dated:       July 19, 2019                      Respectfully submitted,


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